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                       UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION



DIANE M. HENDRICKS and AMFINITY
CAPITAL, LLC,
     Plaintiff,
                                                     CASE NO: 8:07-cv-00661-33AEP
v.

MIRABILIS VENTURES, INC., et al.
      Defendants.
____________________________________/

                STIPULATION FOR VOLUNTARY DISMISSAL
      OF AMENDED COMPLAINT AND COUNTERCLAIM WITH PREJUDICE
          AS TO PLAINTIFFS AND MIRABILIS VENTURES, INC. AND
     MOTION FOR ORDER OF DISMISSAL AS TO REMAINING DEFENDANTS

       Defendant, Mirabilis Ventures, Inc. (hereinafter "Mirabilis") filed its Suggestion of

Bankruptcy in the instant action (Dkt. 73) on June 2, 2008 and pursuant to 11 U.S.C. § 362(a),

this Honorable Court entered an order staying this action on August 22, 2008 (Dkt. 86). The

undersigned counsel, R. Scott Shuker, is counsel of record for Mirabilis in the bankruptcy

proceedings pending in the United States Bankruptcy Court for the Middle District of Florida,

Case No. 6:08-04327.

       In conjunction with the bankruptcy proceedings plaintiffs, Diane Hendricks, individually,

and as Trustee of the Kenneth A. and Diane M. Hendricks Irrevocable Trust Agreement, and

Amfinity Capital, LLC, and defendant, Mirabilis, have resolved their disputes. Accordingly,

pursuant to Fed. R. Civ. P. 41(a)(1)(ii), Plaintiffs and Mirabilis hereby stipulate to dismissal of

all claims and counterclaims filed in the captioned matter with prejudice, each party to bear its

own costs and attorney fees.
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       In addition, plaintiffs and defendant, John W. Burcham, II, pursuant to Fed. R. Civ. P.

41(a)(1)(ii), hereby stipulate to dismissal of all claims and counterclaims filed in the captioned

matter with prejudice, each party to bear its own costs and attorney fees.

       Finally, Presidion Corporation and Presidion Solutions, Inc. (collectively the “Presidion

defendants”) also remain as defendants in the case. Counsel for the Presidion defendants was

permitted to withdraw from this matter many, many months ago.                Due to the Presidion

defendants’ failure to secure substitute counsel, this Honorable Court struck motions filed by

Presidion Solutions, Inc. and invited plaintiffs to move for default against the Presidion

defendants (Dkt. 91). Accordingly, it is plain that the Presidion defendants have abandoned their

defense in this matter. Pursuant to Fed. R. Civ. P. 41(a)(2), plaintiffs’ request that this Court

enter an Order of dismissal as to the Presidion defendants, directing that each party bear its own

costs and attorney’s fees.

       WHEREFORE, Plaintiffs, Mirabilis Ventures, Inc. and John Burcham, pro se,

respectfully request that this Honorable Court enter its order and judgment dismissing this case

with prejudice, each party to bear its own costs and attorney’s fees.

Respectfully submitted,

BARNETT, BOLT, KIRKWOOD,                               LATHAN SHUKER EDEN &
LONG & MCBRIDE                                         BEAUDINE, LLP

s/Charles A. Carlson/                   .              s/R. Scott Shuker               .
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And

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                                                   s/John W. Burcham                                   .
                                                   John W. Burcham, Pro Se

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 9th day of November, 2009, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of
electronic filing to the following:

J. Russ Campbell, Esq.
Balch & Bingham LLP
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Birmingham, Alabama 35203
205-226-3438
205-488-5859 - Facsimile
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Attorneys for Mirabilis Ventures, Inc.

        I HEREBY CERTIFY that a true copy of the foregoing has been furnished via U. S. Mail
to Presidion Corporation, pro se, 101 W. Big Beaver Road, Suite 1400, Troy, Michigan 48084;
and Presidion Solutions, Inc., pro se, c/o Frank Amodeo, 2875 South Orange Avenue, Suite 500,
PMB 1810, Orlando, Florida 32801 on this 9th day of November, 2009.

                                                  s/ Charles A. Carlson
                                                         Attorney

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